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                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF WASHINGTON

                                      SEATTLE DIVISION

LISA ABELES,                                         Case No. 2:21-cv-01384-RSL

                Plaintiff,
                                                     Order Granting Defendant Puget Sound
       v.                                            Collections’ Unopposed Motion for
                                                     Extension of Time to Respond to
PUGET SOUND COLLECTIONS, INC.;                       Complaint
TRANSUNION LLC, a Delaware Limited
Liability Company; and EQUIFAX
INFORMATION SERVICES, LLC, a Georgia
Limited Liability Company

                Defendants.


       The court has considered Defendant Puget Sounds Collections’ Unopposed Motion to

Extend Time to File Response to Complaint, and the supporting Declaration of Timothy J.

Fransen. For good cause shown,

       IT IS ORDERED:

       1.       The motion to extend time is GRANTED;

       2.       The deadline for defendant Puget Sound Collections to file its response to the

complaint is extended up to and including November 2, 2021.

       DATED this 20th day of October, 2021.



                                              Robert S. Lasnik
                                              United States District




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